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04/25/2019 09:07 AM CDT




                                                           - 283 -
                                  Nebraska Supreme Court A dvance Sheets
                                          302 Nebraska R eports
                                        U.S. SPECIALTY INS. CO. v. D S AVIONICS
                                                   Cite as 302 Neb. 283



                                        U.S. Specialty Insurance Company,
                                            a corporation, appellee, v.
                                              D S Avionics Unlimited
                                                  LLC, appellant.
                                                      ___ N.W.2d ___

                                          Filed February 15, 2019.   No. S-17-1101.

                                                supplemental opinion

                 Appeal from the District Court for Douglas County: Shelly
               R. Stratman, Judge. Supplemental opinion: Former opinion
               modified. Motions for rehearing overruled.

                 Thomas M. Locher, of Locher, Pavelka, Dostal, Braddy &amp;
               Hammes, L.L.C., for appellant.

                     Robert E. O’Connor, Jr., for appellee.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke, and
               Papik, JJ., and Johnson, District Judge.

                 Per Curiam.
                 This case is before us on motions for rehearing filed by the
               appellant, D S Avionics Unlimited LLC, and the appellee, U.S.
               Specialty Insurance Company, concerning our opinion in U.S.
               Specialty Ins. Co. v. D S Avionics.1 We overrule the motions,
               but we modify the opinion as follows:

                1	
                     U.S. Specialty Ins. Co. v. D S Avionics, 301 Neb. 388, 918 N.W.2d 589                     (2018).
                                  - 284 -
               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                  U.S. SPECIALTY INS. CO. v. D S AVIONICS
                             Cite as 302 Neb. 283
   In the “Declaratory Judgment Was Premature” subsection,
we strike the third sentence of the first paragraph, including
footnote 14.2 Also in the same subsection, after the fourth
sentence of the second paragraph,3 we insert the following sen-
tence: “‘This rule embraces not only cases where the identi-
cal issues between the same parties are sub judice, but also
possibly cases in which the issues only are identical but not
the parties.’”4
   The remainder of the opinion shall remain unmodified.
	                         Former opinion modified.
	Motions for rehearing overruled.

 2	
      Id. at 398, 918 N.W.2d at 596.
 3	
      Id. at 399, 918 N.W.2d at 596.
 4	
      Strawn v. County of Sarpy, 146 Neb. 783, 788, 21 N.W.2d 597, 600
      (1946).
